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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   DIBAKAR BARUA, Individually and on                Civil Action No.
     Behalf of All Others Similarly Situated,
10                                                     CLASS ACTION COMPLAINT FOR
                    Plaintiff,                         VIOLATIONS OF THE FEDERAL
11                                                     SECURITIES LAWS
            v.
12                                                     JURY DEMAND
     ZILLOW GROUP, INC., RICHARD
13   BARTON, ALLEN PARKER, and JEREMY
     WACKSMAN,
14
                    Defendants.
15

16          Plaintiff Dibakar Barua (“Plaintiff”), individually and on behalf of all others similarly

17   situated, by and through his attorneys, alleges the following upon information and belief, except

18   as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

19   information and belief is based upon, among other things, his counsel’s investigation, which

20   includes without limitation: (a) review and analysis of regulatory filings made by Zillow Group,

21   Inc. (“Zillow” or the “Company”) with the United States (“U.S.”) Securities and Exchange

22   Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

23   disseminated by Zillow; and (c) review of other publicly available information concerning Zillow.

24                          NATURE OF THE ACTION AND OVERVIEW

25          1.      This is a class action on behalf of persons and entities that purchased or otherwise

26   acquired Zillow securities between February 10, 2021 and November 2, 2021, inclusive (the “Class

27

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 1   Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

 2   1934 (the “Exchange Act”).

 3          2.      Zillow is a real estate company that purports to offer customers “an on-demand

 4   experience for selling, buying, renting or financing with transparence.” The Company’s “Zillow

 5   Offers” business “buys and sells homes directly in dozens of markets across the country, allowing

 6   sellers control over their timeline.”

 7          3.      On October 18, 2021, the Company announced that Zillow Offers suspended

 8   signing of new contracts through 2021 and would focus on its current inventory, citing “a backlog

 9   in renovations and operational capacity restraints.” Zillow claimed that “[p]ausing new contracts
10   will enable us to focus on sellers already under contract with us and our current home inventory.”
11          4.      On this news, Zillow’s Class A share price fell $8.84, or 9.4%, to close at $85.46
12   per share on October 18, 2021, and Zillow’s Class C share price fell $8.97, or 9.4%, to close at
13   $86.00 per share on October 18, 2021, on unusually heavy trading volume.
14          5.      Then, on November 2, 2021, after the market closed, Zillow announced that it
15   would wind-down Zillow Offers because “the unpredictability in forecasting home prices far
16   exceeds what we anticipated and continuing to scale Zillow Offers would result in too much
17   earnings and balance-sheet volatility.” As a result, third quarter 2021 financial results included “a
18   write-down of inventory of approximately $304 million within the Homes segment as a result of
19   purchasing homes in Q3 at higher prices than the [C]ompany’s current estimates of future selling
20   prices.” Moreover, the “[C]ompany further expects an additional $240 million to $265 million of
21   losses to be recognized in Q4 primarily on homes it expects to purchase in Q4.” The “wind-down
22   is expected to take several quarters and will include a reduction of Zillow’s workforce by
23   approximately 25%.”
24          6.       On this news, Zillow’s Class A share price fell $19.62, or 23%, to close at $65.86
25   per share on November 3, 2021, on unusually heavy trading volume. Zillow’s Class C share price
26   fell $21.73, or 25%, to close at $65.47 per share on November 3, 2021, on unusually heavy trading
27   volume.

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 1           7.          Throughout the Class Period, Defendants made materially false and/or misleading

 2   statements, as well as failed to disclose material adverse facts about the Company’s business,

 3   operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that, despite

 4   operational improvements, the Company experienced significant unpredictability in forecasting

 5   home prices for its Zillow Offers business; (2) that such unpredictability, as well as labor and

 6   supply shortages, led to a backlog of inventory; (3) that, as a result of the foregoing, the Company

 7   was reasonably likely to wind-down its Zillow Offers business, which would have a material

 8   adverse impact on its financial results; and (4) that, as a result of the foregoing, Defendants’

 9   positive statements about the Company’s business, operations, and prospects were materially
10   misleading and/or lacked a reasonable basis.
11           8.          As a result of Defendants’ wrongful acts and omissions, and the precipitous decline
12   in the market value of the Company’s securities, Plaintiff and other Class members have suffered
13   significant losses and damages.
14                                        JURISDICTION AND VENUE

15           9.          The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

16   Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

17   C.F.R. § 240.10b-5).

18           10.         This Court has jurisdiction over the subject matter of this action pursuant to 28

19   U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

20           11.         Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

21   27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

22   or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

23   including the dissemination of materially false and/or misleading information, occurred in

24   substantial part in this Judicial District. In addition, the Company’s principal executive offices are

25   in this District.

26           12.         In connection with the acts, transactions, and conduct alleged herein, Defendants

27   directly and indirectly used the means and instrumentalities of interstate commerce, including the

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 1   United States mail, interstate telephone communications, and the facilities of a national securities

 2   exchange.

 3                                               PARTIES

 4          13.     Plaintiff Dibakar Barua, as set forth in the accompanying certification, incorporated

 5   by reference herein, purchased Zillow securities during the Class Period, and suffered damages as

 6   a result of the federal securities law violations and false and/or misleading statements and/or

 7   material omissions alleged herein.

 8          14.     Defendant Zillow is incorporated under the laws of Delaware with its principal

 9   executive offices located in Seattle, Washington. Zillow’s Class A common stock trades on the
10   NASDAQ Exchange under the symbol “ZG,” and its Class C common stock trades on the
11   NASDAQ Exchange under the symbol “Z.”
12          15.     Defendant Richard Barton (“Barton”) was the Company’s Chief Executive Officer
13   (“CEO”) at all relevant times.
14          16.     Defendant Allen Parker (“Parker”) was the Company’s Chief Financial Officer
15   (“CFO”) at all relevant times.
16          17.     Defendant Jeremy Wacksman (“Wacksman”) was the Company’s Chief Operating
17   Officer (“COO”) at all relevant times.
18          18.     Defendants Barton, Parker, and Wacksman (collectively the “Individual
19   Defendants”), because of their positions with the Company, possessed the power and authority to
20   control the contents of the Company’s reports to the SEC, press releases and presentations to
21   securities analysts, money and portfolio managers and institutional investors, i.e., the market. The
22   Individual Defendants were provided with copies of the Company’s reports and press releases
23   alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and
24   opportunity to prevent their issuance or cause them to be corrected. Because of their positions and
25   access to material non-public information available to them, the Individual Defendants knew that
26   the adverse facts specified herein had not been disclosed to, and were being concealed from, the
27

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 1   public, and that the positive representations which were being made were then materially false

 2   and/or misleading. The Individual Defendants are liable for the false statements pleaded herein.

 3                                   SUBSTANTIVE ALLEGATIONS

 4                                             Background

 5          19.       Zillow is a real estate company that purports to offer customers “an on-demand

 6   experience for selling, buying, renting or financing with transparence.” The Company’s “Zillow

 7   Offers” business “buys and sells homes directly in dozens of markets across the country, allowing

 8   sellers control over their timeline.”

 9                                    Materially False and Misleading
10                              Statements Issued During the Class Period

11          20.       The Class Period begins on February 10, 2021. On that day, Zillow announced its

12   fourth quarter and full year 2020 financial results. During the related conference call, Defendant

13   Barton stated that the Company’s “burgeoning sell-side business, Zillow Offers, ,proved durable

14   through some bad weather.” The Company “paused home buying to manage risk during the early

15   days of the pandemic, but exited 2020 with our quarterly acquisitions pace returning to Q4 2019

16   levels.” Defendant Parker stated that “[d]uring Q4, Zillow Offers benefited from operational

17   improvements, stronger than expected home appreciation across the country, a strong customer

18   value proposition and faster sales philosophy.”

19          21.       On February 12, 2021, the Company filed its annual report on Form 10-K for the

20   period ended December 31, 2020, affirming the previously reported financial results. It stated, in

21   relevant part:

22          Our Zillow Offers Business Depends on Our Ability to Accurately Value Homes
            and Manage Inventory and a Failure to Do So May Have an Adverse Effect on
23          Our Business and Financial Results.

24          The success of Zillow Offers depends in part on our ability to efficiently acquire,
            renovate and sell properties. We underwrite and price the homes we buy and sell
25          through Zillow Offers using in-person evaluations and data science and proprietary
            algorithms based on a number of factors, including our knowledge of the real estate
26          markets in which Zillow Offers operates. These assessments include the estimated
            time from purchase to sale, the cost of updating a home, market conditions and
27          potential resale proceeds, closing costs and holding costs. These assessments may
            be inaccurate. Our pricing model may not account for submarket nuances – for
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 1             example, the location of a home on a hill or in a building – which could have a
               significant impact on price. If valuations are too low and/or fees are too high,
 2             conversion rates and customer satisfaction may be adversely impacted, as our offers
               may not be competitive. In addition, we may not discover latent home construction
 3             defects or environmental hazards or other conditions requiring remediation or
               impacting the value of the home in a timely manner, or at all, which may require us
 4             to write down the inventory value of those homes or prevent us from reselling them
               for the price we anticipated or at all. We may be unable to acquire or sell inventory
 5             at attractive prices, in a timely manner, or at all. We may also be unable to finance
               and manage inventory effectively. As a result, our revenue, gross profit and results
 6             of operations may be affected, which could have an adverse effect on our business,
               results of operations, and financial condition.
 7
               22.        On May 4, 2021, Zillow announced its first quarter 2021 financial results in a press
 8
     release that stated, in relevant part:
 9
               Recent highlights include:
10
                     •    Consolidated first-quarter revenue of $1.2 billion and revenue for each
11                        segment exceeded the high end of the company's outlook for the first
                          quarter.
12
                     •    Consolidated net income was $52 million for the first quarter. Segment
13                        income (loss) before income taxes was $144 million, $(58) million and $(2)
                          million for the IMT, Homes and Mortgages segments, respectively, for the
14                        first quarter.
15                   •    First-quarter Adjusted EBITDA exceeded the high end of the company's
                          outlook for all three segments, resulting in consolidated Adjusted EBITDA
16                        of $181 million.
17             23.        On May 4, 2021, Zillow held a conference call in connection with its first quarter
18   2021 financial results. During the call, Defendant Barton stated that “Zillow Offers continued to
19   accelerate out of the pause we instituted in the pandemic, generating over $700 million in revenue
20   and surpassing our internal expectations on revenue, EBITDA and unit level economics.”1
21   Defendant Parker agreed that “[g]rowth in Zillow Offers continued to reaccelerate in Q1” and

22   “[r]esale velocity was above our expectations.”

23             24.        On August 5, 2021, Zillow announced its second quarter 2021 financial results in a

24   press release that stated, in relevant part:

25             "Zillow is making rapid and significant progress toward building a seamless,
               integrated real estate experience for our customers and partners. Our strong second-
26             quarter results show how well we're executing on the three- to five-year growth

27   1
         Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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 1          objectives we announced in 2019," said Zillow Group co-founder and CEO Rich
            Barton. "Of particular note, our iBuying business, Zillow Offers, continues to
 2          accelerate as we offer more customers a fast, fair, flexible and convenient way to
            move. Zillow Offers is proving attractive to sellers even in this sizzling-hot seller's
 3          market. Finally, we expect millennial-buyers, low interest rates, and the increasing
            adoption of location-flexible work policies, to fuel interest in moving for many
 4          years to come. And these movers will increasingly demand e-commerce-like
            solutions where Zillow excels."
 5
            Recent highlights include:
 6
                  •    Consolidated second-quarter revenue of $1.3 billion and revenue for the
 7                     IMT and Homes segments exceeded the high end of the company's second-
                       quarter outlook.
 8
                  •    Consolidated second-quarter gross profit was $538 million, up 92% year
 9                     over year.
10                •    Consolidated net income was $10 million for the second quarter. Segment
                       income (loss) before income taxes was $134 million, $(59) million and
11                     $(18) million for the IMT, Homes and Mortgages segments, respectively,
                       for the second quarter.
12
                  •    Second-quarter Adjusted EBITDA of $183 million and Adjusted EBITDA
13                     for the IMT and Homes segments exceeded the high end of the company's
                       second-quarter outlook. Adjusted EBITDA by segment was $218 million,
14                     $(29) million and $(6) million for the IMT, Homes and Mortgages
                       segments, respectively, for the second quarter.
15
            25.        Also on August 5, 2021, the Company held a conference call in connection with its
16
     second quarter 2021 financial results. During the call, Defendant Barton touted:
17
            Zillow Offers continued to accelerate in Q2 with a record 3,805 homes purchased.
18          We sold 2,086 homes generating a record $777 million in revenue on our Home
            segment, surpassing our internal expectations for both revenue and EBITDA.
19          Importantly, the Zillow Offers value proposition of a fast, fair, flexible and
            convenient close has proved more than durable, even in this sizzling hot sellers
20          market.
21          26.        During the August 5, 2021 call, Defendant Parker likewise stated that “[g]rowth in
22   Zillow Offers continued to accelerate in Q2 and exceeded our expectations.” The Company “made
23   progress this quarter in improving [its] pricing models, including launching the Neural Zestimate,
24   which sharpened [its] Offers strength.”
25          27.        On September 13, 2021, Defendant Wacksman represented Zillow at the Piper
26   Sandler 2021 Virtual Global Technology Conference. The presenter noted that “the Company was
27   able to really effectively rebuild inventory in the second quarter and this was more of a challenge

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 1   in 1Q” and asked defendant Wacksman to discuss “what changed in the interim and how the

 2   company is getting better able to react to the current pricing environment with sharply rising

 3   prices.” Defendant Wacksman replied:

 4          Yes, I mean, you hit on it. Some of the inventory growth timing was just based on
            the fastest home price appreciation we – any of us had ever seen before and much
 5          stronger than both our internal and other third-party forecast we’re seeing at the
            beginning of the year. So keeping up with rising home price appreciation, both on
 6          our acquisition side and then finding that price in the markets we’re in, that continue
            to be a new and unique challenge coming out of pandemic. But I will say what
 7          we’ve learned is that this business, Zillow Offers, is a business that exists across
            all housing market cycles, right? And that’s been a question that we’ve touched on
 8          over the past few years. Is Zillow Offers more interesting in a hot or a cold or a
            medium market? Zillow Offers is a really interesting opportunity for our customers
 9          in all markets. . . . So, we were really encouraged to see while we saw these
            incredibly hot markets, the strength and the appeal for Zillow Offers just
10          continues to grow and we’re even more confident now that this is going to be a
            service really in all-weather markets.
11
            28.     The above statements identified in ¶¶ 20-27 were materially false and/or
12
     misleading, and failed to disclose material adverse facts about the Company’s business, operations,
13
     and prospects. Specifically, Defendants failed to disclose to investors: (1) that, despite operational
14
     improvements, the Company experienced significant unpredictability in forecasting home prices
15
     for its Zillow Offers business; (2) that, as a result, the Company was reasonably likely to wind-
16
     down its Zillow Offers business, which would have a material adverse impact on its financial
17
     results; and (3) that, as a result of the foregoing, Defendants’ positive statements about the
18
     Company’s business, operations, and prospects were materially misleading and/or lacked a
19
     reasonable basis.
20
            29.     The truth began to emerge on October 18, 2021 when the Company announced that
21
     Zillow Offers suspended signing of new contracts through 2021 and would focus on its current
22
     inventory. The Company issued a press release entitled “At Operational Capacity, ‘Zillow Offers’
23
     to Focus on Signed Customer Contracts and Current Inventory; Suspends Signing of New
24
     Contracts Through 2021.” It stated, in relevant part:
25
            Due to a backlog in renovations and operational capacity constraints, Zillow
26          announced its Zillow Offers business will not sign any new, additional contracts
            to buy homes through the end of the year. Pausing on new contracts will enable
27          Zillow Offers to focus operations on purchasing homes with already-signed

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 1          contracts, but have yet to close, and reducing the renovation pipeline. Zillow will
            continue to market and sell homes through Zillow Offers during this period.
 2
            "We're operating within a labor- and supply-constrained economy inside a
 3          competitive real estate market, especially in the construction, renovation and
            closing spaces," said Jeremy Wacksman, chief operating officer, Zillow. "We have
 4          not been exempt from these market and capacity issues and we now have an
            operational backlog for renovations and closings. Pausing new contracts will
 5          enable us to focus on sellers already under contract with us and our current home
            inventory.”
 6
            30.     On this news, Zillow’s Class A share price fell $8.84, or 9.4%, to close at $85.46
 7
     per share on October 18, 2021, and Zillow’s Class C share price fell $8.97, or 9.4%, to close at
 8
     $86.00 per share on October 18, 2021, on unusually heavy trading volume.
 9
            31.     The above statements identified in ¶ 29 were materially false and/or misleading,
10
     and failed to disclose material adverse facts about the Company’s business, operations, and
11
     prospects. Specifically, Defendants failed to disclose to investors: (1) that, despite operational
12
     improvements, the Company experienced significant unpredictability in forecasting home prices
13
     for its Zillow Offers business; (2) that such unpredictability, as well as labor and supply shortages,
14
     led to a backlog of inventory; (3) that, as a result of the foregoing, the Company was reasonably
15
     likely to wind-down its Zillow Offers business, which would have a material adverse impact on
16
     its financial results; and (4) that, as a result of the foregoing, Defendants’ positive statements about
17
     the Company’s business, operations, and prospects were materially misleading and/or lacked a
18
     reasonable basis.
19
                                 Disclosures at the End of the Class Period
20
            32.     On November 2, 2021, after the market closed, Zillow announced its third quarter
21
     2021 financial results in a press release and “its plan to wind down Zillow Offers.” Zillow stated
22
     that “[t]he wind-down is expected to take several quarters and will include a reduction of Zillow’s
23
     workforce by approximately 25%.” In the press release, defendant Barton stated that “the
24
     unpredictability in forecasting home prices far exceeds what we anticipated and continuing to scale
25
     Zillow Offers would result in too much earnings and balance-sheet volatility.”
26
            33.     As a result, third quarter 2021 financial results included “a write-down of inventory
27
     of approximately $304 million within the Homes segment as a result of purchasing homes in Q3
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 1   at higher prices than the [C]ompany’s current estimates of future selling prices.” Moreover, the

 2   “[C]ompany further expects an additional $240 million to $265 million of losses to be recognized

 3   in Q4 primarily on homes it expects to purchase in Q4.” During the conference call held in

 4   connection with these results, defendant Parker explained that the “estimated losses primarily

 5   relate to homes that were under contract to purchase as of the end of Q3 that we expect to acquire

 6   during Q4 and that we expect to resell for less than purchased.”

 7          34.        On November 2, 2021, after the market closed, The Wall Street Journal published

 8   an article entitled “Zillow Quits Home-Flipping Business, Cites Inability to Forecast Prices,”

 9   pointing out that Zillow had once touted Zillow Offers as a venture that “could generate $20 billion
10   a year.” Noting that “[u]tralow mortgage-interest rates and a need for more space to work from
11   home have driven robust home-buying demand in the past year and a half,” the article quoted
12   Benjamin Keys, professor of real estate at the Wharton School of the University of Pennsylvania:
13   “It feels like this would be a hard time to lose money buying and selling houses. . . . This is a time
14   frame where prices have gone up in a lot of places, dramatically.” The article also cited an analysis
15   of Zillow’s national performance by KeyBanc Capital Markets, which “found [the Company] had
16   listed 66% of homes at prices below what it had paid for them, with an average discount of 4.5%.”
17   Mike DelPrete, a real estate researcher and scholar-in-residence at University of Colorado,
18   Boulder, stated that “[t]he fact that Zillow can’t make it work shouldn’t be the final death knell for
19   iBuying. . . . The other companies are making improvements, and Zillow’s not. They’re still losing
20   lots of money.”
21          35.     On this news, Zillow’s Class A share price fell $19.62, or 23%, to close at $65.86
22   per share on November 3, 2021, on unusually heavy trading volume. Zillow’s Class C share price
23   fell $21.73, or 25%, to close at $65.47 per share on November 3, 2021, on unusually heavy trading
24   volume.
25                                  CLASS ACTION ALLEGATIONS

26          36.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

27   Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

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 1   or otherwise acquired Zillow securities between February 10, 2021 and November 2, 2021,

 2   inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

 3   the officers and directors of the Company, at all relevant times, members of their immediate

 4   families and their legal representatives, heirs, successors, or assigns, and any entity in which

 5   Defendants have or had a controlling interest.

 6           37.       The members of the Class are so numerous that joinder of all members is

 7   impracticable. Throughout the Class Period, Zillow’s shares actively traded on the NASDAQ.

 8   While the exact number of Class members is unknown to Plaintiff at this time and can only be

 9   ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or
10   thousands of members in the proposed Class. Millions of Zillow shares were traded publicly
11   during the Class Period on the NASDAQ. Record owners and other members of the Class may be
12   identified from records maintained by Zillow or its transfer agent and may be notified of the
13   pendency of this action by mail, using the form of notice similar to that customarily used in
14   securities class actions.
15           38.       Plaintiff’s claims are typical of the claims of the members of the Class as all
16   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
17   federal law that is complained of herein.
18           39.       Plaintiff will fairly and adequately protect the interests of the members of the Class
19   and has retained counsel competent and experienced in class and securities litigation.
20           40.       Common questions of law and fact exist as to all members of the Class and
21   predominate over any questions solely affecting individual members of the Class. Among the
22   questions of law and fact common to the Class are:
23                     (a)    whether the federal securities laws were violated by Defendants’ acts as
24   alleged herein;
25                     (b)    whether statements made by Defendants to the investing public during the
26   Class Period omitted and/or misrepresented material facts about the business, operations, and
27   prospects of Zillow; and

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 1                  (c)     to what extent the members of the Class have sustained damages and the

 2   proper measure of damages.

 3          41.     A class action is superior to all other available methods for the fair and efficient

 4   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 5   damages suffered by individual Class members may be relatively small, the expense and burden

 6   of individual litigation makes it impossible for members of the Class to individually redress the

 7   wrongs done to them. There will be no difficulty in the management of this action as a class action.

 8                                UNDISCLOSED ADVERSE FACTS

 9          42.     The market for Zillow’s securities was open, well-developed and efficient at all
10   relevant times. As a result of these materially false and/or misleading statements, and/or failures
11   to disclose, Zillow’s securities traded at artificially inflated prices during the Class Period.
12   Plaintiff and other members of the Class purchased or otherwise acquired Zillow’s securities
13   relying upon the integrity of the market price of the Company’s securities and market information
14   relating to Zillow, and have been damaged thereby.
15          43.     During the Class Period, Defendants materially misled the investing public, thereby
16   inflating the price of Zillow’s securities, by publicly issuing false and/or misleading statements
17   and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth
18   herein, not false and/or misleading. The statements and omissions were materially false and/or
19   misleading because they failed to disclose material adverse information and/or misrepresented the
20   truth about Zillow’s business, operations, and prospects as alleged herein.
21          44.     At all relevant times, the material misrepresentations and omissions particularized
22   in this Complaint directly or proximately caused or were a substantial contributing cause of the
23   damages sustained by Plaintiff and other members of the Class. As described herein, during the
24   Class Period, Defendants made or caused to be made a series of materially false and/or misleading
25   statements about Zillow’s financial well-being and prospects. These material misstatements
26   and/or omissions had the cause and effect of creating in the market an unrealistically positive
27   assessment of the Company and its financial well-being and prospects, thus causing the

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 1   Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

 2   materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

 3   members of the Class purchasing the Company’s securities at artificially inflated prices, thus

 4   causing the damages complained of herein when the truth was revealed.

 5                                          LOSS CAUSATION

 6          45.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 7   the economic loss suffered by Plaintiff and the Class.

 8          46.     During the Class Period, Plaintiff and the Class purchased Zillow’s securities at

 9   artificially inflated prices and were damaged thereby. The price of the Company’s securities
10   significantly declined when the misrepresentations made to the market, and/or the information
11   alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,
12   causing investors’ losses.
13                                     SCIENTER ALLEGATIONS

14          47.     As alleged herein, Defendants acted with scienter since Defendants knew that the

15   public documents and statements issued or disseminated in the name of the Company were

16   materially false and/or misleading; knew that such statements or documents would be issued or

17   disseminated to the investing public; and knowingly and substantially participated or acquiesced

18   in the issuance or dissemination of such statements or documents as primary violations of the

19   federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

20   of their receipt of information reflecting the true facts regarding Zillow, their control over, and/or

21   receipt and/or modification of Zillow’s allegedly materially misleading misstatements and/or their

22   associations with the Company which made them privy to confidential proprietary information

23   concerning Zillow, participated in the fraudulent scheme alleged herein.

24                      APPLICABILITY OF PRESUMPTION OF RELIANCE

25                             (FRAUD-ON-THE-MARKET DOCTRINE)

26          48.     The market for Zillow’s securities was open, well-developed and efficient at all

27   relevant times. As a result of the materially false and/or misleading statements and/or failures to

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 1   disclose, Zillow’s securities traded at artificially inflated prices during the Class Period. On

 2   February 16, 2021, the Company’s Class A share price closed at a Class Period high of $203.79

 3   and its Class C share price closed at a Class Period high of $199.90 per share. Plaintiff and other

 4   members of the Class purchased or otherwise acquired the Company’s securities relying upon the

 5   integrity of the market price of Zillow’s securities and market information relating to Zillow, and

 6   have been damaged thereby.

 7          49.     During the Class Period, the artificial inflation of Zillow’s shares was caused by

 8   the material misrepresentations and/or omissions particularized in this Complaint causing the

 9   damages sustained by Plaintiff and other members of the Class. As described herein, during the
10   Class Period, Defendants made or caused to be made a series of materially false and/or misleading
11   statements about Zillow’s business, prospects, and operations. These material misstatements
12   and/or omissions created an unrealistically positive assessment of Zillow and its business,
13   operations, and prospects, thus causing the price of the Company’s securities to be artificially
14   inflated at all relevant times, and when disclosed, negatively affected the value of the Company
15   shares. Defendants’ materially false and/or misleading statements during the Class Period resulted
16   in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially
17   inflated prices, and each of them has been damaged as a result.
18          50.     At all relevant times, the market for Zillow’s securities was an efficient market for
19   the following reasons, among others:
20                  (a)     Zillow shares met the requirements for listing, and was listed and actively
21   traded on the NASDAQ, a highly efficient and automated market;
22                  (b)     As a regulated issuer, Zillow filed periodic public reports with the SEC
23   and/or the NASDAQ;
24                  (c)     Zillow regularly communicated with public investors via established market
25   communication mechanisms, including through regular dissemination of press releases on the
26   national circuits of major newswire services and through other wide-ranging public disclosures,
27   such as communications with the financial press and other similar reporting services; and/or

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 1                  (d)     Zillow was followed by securities analysts employed by brokerage firms

 2   who wrote reports about the Company, and these reports were distributed to the sales force and

 3   certain customers of their respective brokerage firms. Each of these reports was publicly available

 4   and entered the public marketplace.

 5          51.     As a result of the foregoing, the market for Zillow’s securities promptly digested

 6   current information regarding Zillow from all publicly available sources and reflected such

 7   information in Zillow’s share price. Under these circumstances, all purchasers of Zillow’s

 8   securities during the Class Period suffered similar injury through their purchase of Zillow’s

 9   securities at artificially inflated prices and a presumption of reliance applies.
10          52.     A Class-wide presumption of reliance is also appropriate in this action under the
11   Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),
12   because the Class’s claims are, in large part, grounded on Defendants’ material misstatements
13   and/or omissions. Because this action involves Defendants’ failure to disclose material adverse
14   information regarding the Company’s business operations and financial prospects—information
15   that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to
16   recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable
17   investor might have considered them important in making investment decisions. Given the
18   importance of the Class Period material misstatements and omissions set forth above, that
19   requirement is satisfied here.
20                                          NO SAFE HARBOR

21          53.     The statutory safe harbor provided for forward-looking statements under certain

22   circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

23   The statements alleged to be false and misleading herein all relate to then-existing facts and

24   conditions. In addition, to the extent certain of the statements alleged to be false may be

25   characterized as forward looking, they were not identified as “forward-looking statements” when

26   made and there were no meaningful cautionary statements identifying important factors that could

27   cause actual results to differ materially from those in the purportedly forward-looking statements.

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 1   In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

 2   looking statements pleaded herein, Defendants are liable for those false forward-looking

 3   statements because at the time each of those forward-looking statements was made, the speaker

 4   had actual knowledge that the forward-looking statement was materially false or misleading,

 5   and/or the forward-looking statement was authorized or approved by an executive officer of Zillow

 6   who knew that the statement was false when made.

 7                                             FIRST CLAIM

 8                         Violation of Section 10(b) of The Exchange Act and

 9                                 Rule 10b-5 Promulgated Thereunder
10                                         Against All Defendants

11           54.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

12   set forth herein.

13           55.     During the Class Period, Defendants carried out a plan, scheme and course of

14   conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

15   public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

16   other members of the Class to purchase Zillow’s securities at artificially inflated prices. In

17   furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

18   took the actions set forth herein.

19           56.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

20   untrue statements of material fact and/or omitted to state material facts necessary to make the

21   statements not misleading; and (iii) engaged in acts, practices, and a course of business which

22   operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

23   maintain artificially high market prices for Zillow’s securities in violation of Section 10(b) of the

24   Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

25   wrongful and illegal conduct charged herein or as controlling persons as alleged below.

26           57.     Defendants, individually and in concert, directly and indirectly, by the use, means

27   or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

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 1   continuous course of conduct to conceal adverse material information about Zillow’s financial

 2   well-being and prospects, as specified herein.

 3          58.     Defendants employed devices, schemes and artifices to defraud, while in

 4   possession of material adverse non-public information and engaged in acts, practices, and a course

 5   of conduct as alleged herein in an effort to assure investors of Zillow’s value and performance and

 6   continued substantial growth, which included the making of, or the participation in the making of,

 7   untrue statements of material facts and/or omitting to state material facts necessary in order to

 8   make the statements made about Zillow and its business operations and future prospects in light

 9   of the circumstances under which they were made, not misleading, as set forth more particularly
10   herein, and engaged in transactions, practices and a course of business which operated as a fraud
11   and deceit upon the purchasers of the Company’s securities during the Class Period.
12          59.     Each of the Individual Defendants’ primary liability and controlling person liability
13   arises from the following facts: (i) the Individual Defendants were high-level executives and/or
14   directors at the Company during the Class Period and members of the Company’s management
15   team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and
16   activities as a senior officer and/or director of the Company, was privy to and participated in the
17   creation, development and reporting of the Company’s internal budgets, plans, projections and/or
18   reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the
19   other defendants and was advised of, and had access to, other members of the Company’s
20   management team, internal reports and other data and information about the Company’s finances,
21   operations, and sales at all relevant times; and (iv) each of these defendants was aware of the
22   Company’s dissemination of information to the investing public which they knew and/or
23   recklessly disregarded was materially false and misleading.
24          60.     Defendants had actual knowledge of the misrepresentations and/or omissions of
25   material facts set forth herein, or acted with reckless disregard for the truth in that they failed to
26   ascertain and to disclose such facts, even though such facts were available to them. Such
27   defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

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 1   for the purpose and effect of concealing Zillow’s financial well-being and prospects from the

 2   investing public and supporting the artificially inflated price of its securities. As demonstrated by

 3   Defendants’ overstatements and/or misstatements of the Company’s business, operations,

 4   financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

 5   actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

 6   obtain such knowledge by deliberately refraining from taking those steps necessary to discover

 7   whether those statements were false or misleading.

 8          61.     As a result of the dissemination of the materially false and/or misleading

 9   information and/or failure to disclose material facts, as set forth above, the market price of Zillow’s
10   securities was artificially inflated during the Class Period. In ignorance of the fact that market
11   prices of the Company’s securities were artificially inflated, and relying directly or indirectly on
12   the false and misleading statements made by Defendants, or upon the integrity of the market in
13   which the securities trades, and/or in the absence of material adverse information that was known
14   to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants
15   during the Class Period, Plaintiff and the other members of the Class acquired Zillow’s securities
16   during the Class Period at artificially high prices and were damaged thereby.
17          62.     At the time of said misrepresentations and/or omissions, Plaintiff and other
18   members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff
19   and the other members of the Class and the marketplace known the truth regarding the problems
20   that Zillow was experiencing, which were not disclosed by Defendants, Plaintiff and other
21   members of the Class would not have purchased or otherwise acquired their Zillow securities, or,
22   if they had acquired such securities during the Class Period, they would not have done so at the
23   artificially inflated prices which they paid.
24          63.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act
25   and Rule 10b-5 promulgated thereunder.
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 1           64.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

 2   other members of the Class suffered damages in connection with their respective purchases and

 3   sales of the Company’s securities during the Class Period.

 4                                           SECOND CLAIM

 5                            Violation of Section 20(a) of The Exchange Act

 6                                   Against the Individual Defendants

 7           65.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

 8   set forth herein.

 9           66.     Individual Defendants acted as controlling persons of Zillow within the meaning of
10   Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and
11   their ownership and contractual rights, participation in, and/or awareness of the Company’s
12   operations and intimate knowledge of the false financial statements filed by the Company with the
13   SEC and disseminated to the investing public, Individual Defendants had the power to influence
14   and control and did influence and control, directly or indirectly, the decision-making of the
15   Company, including the content and dissemination of the various statements which Plaintiff
16   contends are false and misleading. Individual Defendants were provided with or had unlimited
17   access to copies of the Company’s reports, press releases, public filings, and other statements
18   alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and
19   had the ability to prevent the issuance of the statements or cause the statements to be corrected.
20           67.     In particular, Individual Defendants had direct and supervisory involvement in the
21   day-to-day operations of the Company and, therefore, had the power to control or influence the
22   particular transactions giving rise to the securities violations as alleged herein, and exercised the
23   same.
24           68.     As set forth above, Zillow and Individual Defendants each violated Section 10(b)
25   and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position
26   as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange
27   Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

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 1   members of the Class suffered damages in connection with their purchases of the Company’s

 2   securities during the Class Period.

 3                                         PRAYER FOR RELIEF

 4          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

 5          (a)     Determining that this action is a proper class action under Rule 23 of the Federal

 6   Rules of Civil Procedure;

 7          (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

 8   against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

 9   wrongdoing, in an amount to be proven at trial, including interest thereon;
10          (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in
11   this action, including counsel fees and expert fees; and
12          (d)     Such other and further relief as the Court may deem just and proper.
13                                     JURY TRIAL DEMANDED

14          Plaintiff hereby demands a trial by jury.

15          DATED this 16th day of November, 2021.

16
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